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                          IN THE UNITED STATE DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION

WINFIELD DAVID BARTLETT and LILA                     )
MAE BARTLETT                                         )          C/A No.: 2:15-cv-04289-MBS
                                                     )
         Plaintiffs,                                 )
                                                     )
                        vs.                          )                     ORDER
                                                     )
AIR & LIQUID SYSTEMS                                 )
CORPORATION, et al.,                                 )
                                                     )
         Defendants.                                 )
                                                     )

         This matter was heard by the undersigned upon motion by Plaintiffs, WINFIELD DAVID

BARTLETT AND LILA MAE BARTLETT, and Defendant RILEY POWER INC., to dismiss

with prejudice all claims against RILEY POWER INC. in this matter.

         It appearing that grounds exist to permit Plaintiffs to voluntarily dismiss this action against

RILEY POWER INC. with prejudice, and that the motion should be granted for good causes

shown.

         It is therefore ORDERED, ADJUDGED, and DECREED that the action of Plaintiffs,

WINFIELD DAVID BARTLETT AND LILA MAE BARTLETT be dismissed with prejudice,

and each party to bear its own costs.



                                                s/ Margaret B. Seymour_____________________
                                                Honorable Margaret B. Seymour
                                                Senior United States District Court Judge

March 7, 2017
Charleston, South Carolina
